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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Susan Phillips, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:22−cv−01048
                                                         Honorable Andrea R. Wood
The United States of America
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 19, 2025:


        MINUTE entry before the Honorable Andrea R. Wood: Motion by counsel to
withdraw as attorney [49] is granted. Attorney David A. Neiman is terminated as counsel
of record. Mailed notice (lma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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